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Fill in this information to identify your case:                                                                       For amended plans only:
                                                                                                                           Check if this amended plan is filed prior to
IN THE UNITED STATES BANKRUPTCY COURT                                                                                      any confirmation hearing.

FOR THE EASTERN DISTRICT OF TEXAS                                                                                            Check if this amended plan is filed in
                                                                                                                             response to an initial denial order or a
                                                                                                                             continuance that counted as an initial
Debtor 1              Tommy                      M.                        Tabor
                                                                                                                             denial.
                      First Name                 Middle Name               Last Name
                                                                                                                    List the sections which have been changed by
Debtor 2
                                                                                                                    this amended plan:
(filing spouse)       First Name                 Middle Name               Last Name
                                                                                                                    ______________________________
Case number:          19-90051                                                                                      ______________________________
                                                                                                                    ______________________________
                                                                                                                    ______________________________

TXEB Local Form 3015-a
                                                               CHAPTER 13 PLAN
                                                                                                                                                            Adopted: Dec 2017

Part 1:         Notices
To Debtor*:         This plan form is designed for use when seeking an initial confirmation order. It sets out options that may be appropriate in
                    some cases, but the presence of an option on the form does not indicate that the option is appropriate in your
                    circumstances. When you file this Plan, you must serve a copy of it upon each party listed on the master mailing
                    list (matrix) of creditors as constituted by the Court on the date of service and evidence that service through
                    a Certificate of Service affixed to this document that attaches a copy of the matrix of creditors which you
                    served. The most current matrix in this case is available under the "Reports" tab of the CM-ECF system.

* The use of the singular term "Debtor" in this Plan includes both debtors when the case has been initiated by the filing of a joint petition by spouses.

To Creditors:       Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                    You should read this Plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                    have an attorney, you may wish to consult one.

                    If you oppose any permanent treatment of your claim as outlined in this plan, you or your attorney must file an objection to
                    confirmation of this Plan. An objection to confirmation must be filed at least 14 days before the date set for the plan
                    confirmation hearing. That date is listed in ¶ 9 of the Notice of Chapter 13 Bankruptcy Case issued in this case. The
                    objection period may be extended to 7 days prior to the confirmation hearing under the circumstances specified in LBR
                    3015(f). In any event, the Court may confirm this plan without further notice if no objection to confirmation is timely filed.

                    Regardless of whether you are listed in the Debtor's matrix of creditors or in the Debtor's schedules, you must timely file
                    a proof of claim in order to be paid under this Plan. The deadline for filing claims is listed in ¶ 8 of the Notice of Chapter 13
                    Bankruptcy Case issued in this case. Disbursements on allowed claims will begin on the Trustee's next scheduled
                    distribution date after the Effective Date of the Plan. See § 9.1.

                    The Debtor must check on box on each line to state whether or not the plan includes each of the following
                    items. If an item is checked as "Not Included" or if both boxes are checked, the provision will be ineffective if
                    set out later in the Plan.

1.1     A limit on the amount of an allowed secured claim through a final determination of                                              Included               Not included
        the value of property constituting collateral for such claim, as set forth in § 3.10 of
        this Plan, which may result in a partial payment or no payment at all to the secured
        creditor.

1.2     Avoidance of a judicial lien or a nonpossessory, nonpurchase-money security                                                     Included               Not included
        interest, as set forth in § 3.9 of this Plan.

1.3     Potential termination and removal of lien based upon alleged unsecured status of                                                Included               Not included
        claim of lienholder, as set forth in § 3.11 of this Plan.

1.4     Nonstandard provisions as set forth in Part 8.                                                                                  Included               Not included
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Debtor     Tommy M. Tabor                                                                                               Case number 19-90051



 Part 2:           Plan Payments and Length of Plan

 2.1     The applicable commitment period for the Debtor is                           36          months.


 2.2     Payment Schedule.

         Unless the Court orders otherwise, beginning on the 30th day after the Petition Date* or the entry date of any order converting this
         case to Chapter 13, whichever is later, the Debtor will make regular payments to the Trustee throughout the applicable commitment
         period and for such additional time as may be necessary to make the payments to claimants specified in Parts 3 through 5 of this Plan
         (the "Plan Term" ). The payment schedule shall consist of:
         * The use of the term "Petition Date" in this Plan refers to the date that the Debtor filed the voluntary petition in this case.

               Constant Payments:              The Debtor will pay             $860.00              per month for                 60        months.

               Variable Payments:      The Debtor will make variable plan payments throughout the Plan Term. The proposed schedule for such
               variable payments are set forth in Exhibit A to this Order and are incorporated herein for all purposes.


 2.3     Mode of Payment.             Regular payments to the Trustee will be made from future income in the following manner:

         [Check one]

               Debtor will make payments pursuant to a wage withholding order directed to an employer.

               Debtor will make electronic payments through the Trustee's authorized online payment system.

               Debtor will make payments by money order or cashier's check upon written authority of the Trustee.

               Debtor will make payments by other direct means only as authorized by motion and separate court order.

 2.4     Income tax refunds.

         In addition to the regular monthly payments to the Trustee, and in the absence of a court order to the contrary, the Debtor is
         required to:

             (1)    supply a copy of each federal income tax return, including all supporting schedules, filed during the Plan Term to the
                    Trustee within 14 days of filing the return; and

             (2)    remit to the Trustee within 14 days of receipt all federal income tax refunds received by each Debtor during the plan term
                    which will be added to the plan base; provided, however, that the Debtor may retain from each such refund up to
                    $2,000.00 in the aggregate on an annual basis if the Debtor is current on the payment obligations to the Trustee under this
                    Plan at the time of the receipt of such tax refund.

         The Debtor hereby authorizes the Trustee to endorse any federal income tax refund check made payable to the Debtor during the
         plan term.


 2.5     Additional payments.             [Check one]

               None. If "None" is checked, the rest of § 2.5 need not be completed.


 2.6     Plan Base.

         The total amount due and owing to the Trustee under §§ 2.2 and 2.5 is        $51,600.00        which, when combined with any income
         tax refunds due to the Trustee under § 2.4, any litigation proceeds due to the Trustee under § 9.3, and any other funds received by the
         Trustee on the Debtor's behalf during the Plan Term, constitutes the "Plan Base."


 Part 3:           Treatment of Secured Claims
 3.1     Post-Petition Home Mortgage Payments. [Check one]

               No Home Mortgage. If "No Mortgage" is checked, the remainder of § 3.1 need not be completed.

               Home Mortgage Maturing Before or During Plan Term. If "Mortgage Maturing" is checked, the claim will be addressed in
               § 3.4. The remainder of § 3.1 need not be completed.


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Debtor    Tommy M. Tabor                                                                                          Case number 19-90051



             Direct Home Mortgage Payments by Debtor Required.

             On the Petition Date, the Debtor owed the following claims secured only by a security interest in real property that is the Debtor's
             principal residence. The listed monthly payment amount is correct as of the Petition Date. Such mortgage claims (other than
             related Cure Claims addressed in § 3.2), shall be paid directly by the Debtor in accordance with the pre-petition contract, including
             any rate changes or other modifications required by such documents and noticed in conformity with any applicable rules, as such
             payments become due during the Plan Term. The fulfillment of this requirement is critical to the Debtor's reorganization effort.
             Any failure by the Debtor to maintain payments to a mortgage creditor during the Plan Term may preclude
             confirmation of this Plan and, absent a subsequent surrender of the mortgage premises, may preclude the
             issuance of any discharge order to the Debtor under § 1328(a).* The Trustee will monitor the Debtor's fulfillment of this
             direct payment obligation ("DPO").

             *All statutory references contained in this Plan refer to the Bankruptcy Code, located in Title 11, United States Code.


              Mortgage Lienholder                                            Property Address                                 Monthly Payment    Due Date of
                                                                                                                              Amount by Debtor    Monthly
                                                                                                                                                  Payment

 1.                                                        224 Enchanted Estates, Crockett, TX                                 $1,210.00
 Loan Care Servicing Center                                75835                                                                                       1st
                                                                                                                        Amount inc:
                                                                                                                           Tax Escrow
                                                                                                                           Insurance Escrow
                                                                                                                           Other

 3.2     Curing Defaults and Maintenance of Direct Payment Obligations. [Check one]

             None. If "None" is checked, the remainder of § 3.2 need not be completed.

             Cure Claims. On the Petition Date, the Debtor was delinquent on payments to satisfy certain secured claims or upon obligations
             arising under an executory contract or an unexpired lease that the Debtor has elected to assume under § 6.1 of this Plan. While
             remaining current on all direct payment obligations (future installment payments) as each comes due under the applicable
             contractual documents during the plan term (a "DPO"), the Debtor shall cure all such delinquencies through the Plan as listed
             below (a "Cure Claim"). Each listed claims constitutes a separate class. The total amount of each allowed Cure Claim will be paid
             in full by the Trustee. The Trustee is authorized to initiate monthly payments on an interim basis based upon the projected amount
             of each Cure Claim listed below until such time as the allowed amount of each Cure Claim is established by the filing of a proof of
             claim in accordance with the Bankruptcy Rules. The amount listed in that proof of claim, or the final determination by the Court of
             any objection thereto, shall control over any projected Cure Claim amount listed below. No interest will be paid on any Cure Claim
             in the absence of documentary proof that the applicable contractual documents entitle the claimant to receive interest on unpaid
             interest.

             If the automatic stay is terminated as to the property for which a Cure Claim exists at any time during the Plan Term, the next
             distribution by the Trustee on such Cure Claim shall be escrowed pending any possible reconsideration of the stay termination. If
             the stay termination is reversed by agreement or by court order, then the single escrowed distribution shall be released to the
             holder of the Cure Claim and regular distributions on that Cure Claim shall be reinstituted. In the event that the stay termination
             remains in effect on the second distribution date after the stay termination, the escrowed funds shall be released for distribution
             to other classes under this Plan and the Cure Claim shall thereafter be addressed solely under applicable state law procedures
             and will no longer be treated by the Plan. The completion of payments contemplated in this subsection constitutes a cure of all
             defaults of the Debtor's obligation to each listed claimant.




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Debtor     Tommy M. Tabor                                                                           Case number 19-90051



               Claimant                 Collateral/Property/Contract     Debtor's DPO      Projected         Plan      Projected      Projected Total
                                                Description                Amount          Cure Claim      Interest     Monthly       Cure Payment
                                                                                            Amount           Rate     Payment by        by Trustee
                                                                                                                        Trustee

 1.
 Loan Care Servicing                   224 Enchanted Estates,              $1,210.00       $11,574.00      0.00% $214.33 avg.           $11,574.00
 Center                                Crockett, TX 75835

       Debt Maturing During Plan
       Term.
       Debt Maturing After
       Completion of Plan Term.
       Curing Assumed Executory
       Contract or Lease Obligation
       Pursuant to § 6.1.

 3.3      Secured Claims Protected from § 506 Bifurcation. [Check one]

               None. If "None" is checked, the remainder of § 3.3 need not be completed.

               910 Claims.    The claims listed below were either:

                  (1)   incurred within 910 days before the Petition Date and secured by a purchase money security interest in a motor vehicle
                        acquired for the personal use of the Debtor, or

                  (2)   incurred within 1 year of the Petition Date and secured by a purchase money security interest in any other thing of value,

               and are thus statutorily protected from bifurcation under § 506(a) based on collateral value (a "910 Claim").

               Based upon the Debtor's election to retain certain personal property that serves as collateral for a 910 Claim, adequate protection
               payments in an initial amount calculated pursuant to LBR 3015(c)(1) shall be paid by the Debtor to the Trustee beginning in Month
               1 of the Plan for the benefit of holders of allowed 910 Claims secured by personal property as authorized by § 1326(a)(1)(C) and
               LBR 3015(c). Such payments shall be held by the Trustee solely for the benefit of the affected secured creditor to the absolute
               exclusion of the Debtor and all other parties and shall be tendered by the Trustee at the earliest practicable time to holders of
               allowed 910 Claims secured by personal property as listed below, notwithstanding any failure by the Debtor to achieve
               confirmation of this Chapter 13 plan. Adequate protection payments to be distributed by the Trustee are subject to the availability
               of funds and the Trustee is authorized to make pro rata payments if available funds are insufficient to pay all adequate protection
               payments otherwise due. Such adequate protection payments to each affected secured claimant shall continue on a monthly
               basis until the month in which equal monthly payments are initiated to such claimant under the Plan.

               Each 910 Claim constitutes a separate class. Each 910 Claim will be paid in full by the Trustee with post-confirmation interest
               accruing from the Effective Date of the Plan at the plan rate stated below. Upon confirmation of this Plan, the Trustee is
               authorized to initiate monthly payments on an interim basis based upon the projected amount of each 910 Claim listed below until
               such time as the allowed amount of each 910 Claim is established by the filing of a proof of claim in accordance with the
               Bankruptcy Rules. The amount listed in that proof of claim, or the final determination by the Court of any objection thereto, shall
               control over any projected 910 Claim amount.

               If the automatic stay is terminated as to property securing a 910 Claim treated under this subsection at any time during the Plan
               Term, the next distribution by the Trustee on such 910 Claim shall be escrowed pending any possible reconsideration of the stay
               termination. If the stay termination is reversed by agreement or by court order, then the single escrowed distribution shall be
               released to the holder of the 910 Claim and regular distributions on that 910 Claim shall be reinstituted. In the event that the stay
               termination remains in effect on the second distribution date after the stay termination, the escrowed funds shall be released for
               distribution to other classes under this Plan and the 910 Claim shall thereafter be addressed solely under applicable state law
               procedures and will no longer be treated by the Plan.




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              Claimant                     Collateral Description          Adequate         910 Claim        Plan      Equal Monthly       Projected
                                                                           Protection        Amount        Interest     Payment by           Total
                                                                            Payment                          Rate         Trustee         Payment by
                                                                                                                                            Trustee

 1.
 GM Financial                         2016 Dodge 1500                       $352.00        $26,797.00       6.50%         $551.74         $31,553.70
                                                                         Month 1
                                                                         through     5

 3.4     Secured Claims Subject to § 506 Bifurcation.

         [Check one]

              None. If "None" is checked, the remainder of § 3.4 need not be completed.


 3.5     Direct Payment of Secured Claims Not in Default. [Check one]

              None. If "None" is checked, the remainder of § 3.5 need not be completed.


 3.6     Surrender of Property. [Check one]

              None. If "None" is checked, the remainder of § 3.6 need not be completed.


 3.7     Lien Retention.

         The holder of a lien securing payment of a claim addressed in §§ 3.1 or 3.2 of this Plan shall retain its lien until the indebtedness
         secured by such lien is totally satisfied as determined under applicable non-bankruptcy law. The holder of a lien securing payment of
         any other allowed secured claim that is governed by this Plan shall retain its lien until the earlier of: (1) the total satisfaction of the
         indebtedness secured by the lien as determined under applicable non-bankruptcy law; or (2) the entry of a discharge order in favor of
         the Debtor under § 1328(a). In each instance, the provisions of this subsection may be superseded by a subsequent order of the
         Court.


 3.8     Maintenance of Insurance and Post-Petition Taxes Upon Retained Collateral.

         For all property that secures the payment of an indebtedness and which is proposed to be retained by the Debtor under this Plan, the
         Debtor must maintain insurance coverage as required either by the applicable contractual documents governing the indebtedness or as
         may be directed by the Trustee. The Debtor must also pay all ad valorem taxes on property proposed to be retained by the Debtor
         under this Plan as they come due in the post-petition period. Such payment shall be tendered to the appropriate taxing authorities in
         accordance with applicable non-bankruptcy law on or before the last date on which such taxes may be paid without penalty.


 3.9     Lien avoidance.     [Check one]

              None. If "None" is checked, the remainder of § 3.9 need not be completed.


 3.10    Rule 3012 Valuation of Collateral.      [Check one]

              None. If "None" is checked, the remainder of § 3.10 need not be completed.


 3.11    Lien Removal Based Upon Unsecured Status.              [Check one]

              None. If "None" is checked, the remainder of § 3.11 need not be completed.




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Debtor    Tommy M. Tabor                                                                             Case number 19-90051



 Part 4:       Treatment of Administrative Expenses, DSO Claims and Other Priority Claims

 4.1     General

         All allowed priority claims, other than those particular domestic support obligations treated in § 4.5, will be paid in full without post-
         confirmation interest. Where applicable, the Trustee is authorized to initiate monthly payments on an interim basis based upon the
         projected amount of each priority claim listed below until such time as the allowed amount of each priority claim is established by the
         filing of a proof of claim in accordance with the Bankruptcy Rules. The amount listed in that proof of claim, or the final determination by
         the Court of any objection thereto, shall control over any projected priority claim amount listed below.


 4.2     Trustee's Fees.

         The Trustee's fees are fixed by the United States Trustee pursuant to the provisions of 28 U.S.C. § 586(e)(2) and, pursuant thereto,
         shall be promptly collected and paid from all plan payments received by the Trustee.


 4.3     Attorney's Fees.

         The total amount of attorney's fees requested by the Debtor's attorney in this case is      $4,000.00      . The amount of
              $1,500.00        was paid to the Debtor's attorney prior to the Petition Date. The allowed balance of attorney's fees will be paid by
         the Trustee from the remaining available funds after the payment of required adequate protection payments pursuant to §§ 3.3 and 3.4
         of this Plan.

         The allowed balance of attorney's fees to be awarded to the Debtor's attorney in this case shall be determined by:

              LBR 2016(h)(1);            by submission of a formal fee application.

                   LBR 2016(h)(1): If the attorney's fee award is determined by the benchmark amounts authorized by LBR 2016(h), the total fee
                   shall be the amount designated in LBR 2016(h)(1)(A) unless a certification is filed by the Debtor's attorney regarding the
                   rendition of legal services pertaining to automatic stay litigation occurring during the Benchmark Fee Period outlined in that local
                   rule. The Trustee is authorized to make the benchmark fee calculation and to recognize the proper enhancement or reduction
                   of the benchmark amount in this case without the necessity of court order. No business case supplement to the benchmark
                   fee shall be recognized unless a business case designation is granted on or before initial confirmation of the Plan.

                   Fee Application: If the attorney's fee award is determined by the formal fee application process, such fee application shall be
                   filed no later than 30 days after the expiration of the Benchmark Fee Period outlined in LBR 2016(h)(1). If no application
                   is filed within that period, the determination of the allowed amount of attorney's fees to the Debtor's attorney shall revert to the
                   benchmark amounts authorized by LBR 2016(h)(1) without the necessity of any further motion, notice or hearing and the
                   Trustee shall adjust any distributions in this class accordingly.


 4.4     Priority Claims: Domestic Support Obligations ("DSO"). [Check one]

              None. If "None" is checked, the remainder of § 4.4 need not be completed.


 4.5     Priority Claims: DSO Assigned/Owed to Governmental Unit and Paid Less Than Full Amount. [Check one]

              None. If "None" is checked, the remainder of § 4.5 need not be completed.


 4.6     Priority Claims: Taxes and Other Priority Claims Excluding Attorney's Fees and DSO Claims. [Check one]

              None. If "None" is checked, the remainder of § 4.5 need not be completed.


 Part 5:       Treatment of Nonpriority Unsecured Claims

 5.1     Specially Classed Unsecured Claims.            [Check one]

              None. If "None" is checked, the remainder of § 5.1 need not be completed.




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Debtor    Tommy M. Tabor                                                                           Case number 19-90051



 5.2     General Unsecured Claims.

         Allowed nonpriority unsecured claims shall comprise a single class of creditors and will be paid:

              100% + Interest at                ;

              100% + Interest at                    with no future modifications to treatment under this subsection;

              Pro Rata Share: of all funds remaining after payment of all secured, priority, and specially classified claims.


 5.3     Liquidation Analysis: Unsecured Claims Under Parts 4 and 5.

         If the bankruptcy estate of the Debtor was liquidated under Chapter 7 of the Bankruptcy Code, the holders of priority unsecured claims
         under Part 4 of this Plan and the holders of nonpriority unsecured claims under Part 5 of this Plan would be paid an aggregate sum of
         approximately      $2,400.00 . Regardless of the particular payment treatments elected under Parts 4 and 5 of this Plan, the
         aggregate amount of payments which will be paid to the holders of allowed unsecured claims under this Plan will be equivalent to or
         greater than this amount.


 Part 6:       Executory Contracts and Unexpired Leases

 6.1     General Rule - Rejection. The executory contracts and unexpired leases of the Debtor listed below are ASSUMED.
         All other executory contracts and unexpired leases of the Debtor are REJECTED.

         [Check one.]

              None. If "None" is checked, the remainder of § 6.1 need not be completed.


 Part 7:       Vesting of Property of the Estate

 7.1     Property of the estate will vest in the Debtor only upon the entry of an order for discharge pursuant to § 1328, in the absence of a
         court order to the contrary.


 Part 8:       Nonstandard Plan Provisions
              None. If "None" is checked, the rest of Part 8 need not be completed.


 Part 9:       Miscellaneous Provisions

 9.1     Effective Date. The effective date of this Plan shall be the date upon which the order confirming this Plan becomes a final,
         nonappealable order.


 9.2     Plan Distribution Order. Unless the Court orders otherwise, disbursements by the Trustee under this Plan shall occur in the following
         order: (1) Trustee's fees under § 4.2 upon receipt; (2) adequate protection payments under §§ 3.3 and 3.4; (3) allowed attorney fees
         under § 4.3; (4) secured claims under §§ 3.2, 3.3 and 3.4 concurrently; (5) DSO priority claims under §§ 4.4 and 4.5 concurrently;
         (6) non-DSO priority claims under § 4.6; (7) specially classed unsecured claims under § 5.1; and (8) general unsecured claims under
         § 5.2.


 9.3     Litigation Proceeds. No settlement of any litigation prosecuted by the Debtor during the Plan Term shall be consummated without the
         consent of the Chapter 13 Trustee and, except as otherwise authorized by the Trustee, all funds received by the Debtor, or any
         attorney for the Debtor, shall be immediately tendered to the Chapter 13 Trustee for satisfaction of any authorized exemption claim of
         the Debtor, with the remainder of the funds dedicated as an additional component of the plan base.




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Debtor     Tommy M. Tabor                                                                         Case number 19-90051



 Part 10:      Signatures

   X     /s/ Robert W. Barron                                               Date 02/21/2019

   Signature of Attorney for Debtor(s)


   X     /s/ Tommy M. Tabor                                                 Date 02/21/2019

   X                                                                        Date

   Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise optional)

   By filing this document, the attorney for the Debtor or any self-represented Debtor certifies to the Court that the wording
   and order of the provisions in this Chapter 13 plan are identical to those contained in TXEB Local Form 3015-a, other than
   any nonstandard provisions included in Part 8, and that the foregoing proposed Plan contains no nonstandard provisions
   other than those included in Part 8.



 Part 11:      Certificate of Service to Matrix as Currently Constituted by the Court

I hereby certify that the above and foregoing document was served upon all of the parties as listed on the attached master mailing list (matrix) as
constituted by the Court on the date of service either by mailing a copy of same to them via first class mail and/or electronic notification on
February 21, 2019:


                                                                                    /s/ Robert W. Barron
                                                                                    Robert W. Barron




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Label Matrix for local      19-90051
                        noticing           Doc 4 Robert
                                                   FiledW.02/21/19
                                                           Barron               Entered 02/21/19 13:08:26     DescLLP
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                                                        & Barron LLP            Page 9 of 9         P.O. Box 1347
Case 19-90051                                        P.O. Box 1347                                        Nederland, Texas 77627-1347
Eastern District of Texas                            Nederland, TX 77627-1347
Lufkin
Thu Feb 21 12:23:55 CST 2019
Citizen National Bank                                GM Financial                                         (p)INTERNAL REVENUE SERVICE
1320 E. Loop 304                                     P.O. Box 183834                                      CENTRALIZED INSOLVENCY OPERATIONS
Crockett, TX 75835-3312                              Arlington, TX 76096-3834                             PO BOX 7346
                                                                                                          PHILADELPHIA PA 19101-7346


Loan Care Servicing Center                           (p)SECURITY FINANCE CENTRAL BANKRUPTCY               Tommy M. Tabor
P.O. Box 8068                                        P O BOX 1893                                         P.O. Box 8
Virginia Beach, VA 23450-8068                        SPARTANBURG SC 29304-1893                            Crockett, TX 75835-0008



Toledo Finance                                       U.S. Attorney General                                US Trustee
604 E. Houston                                       Department of Justice                                Office of the U.S. Trustee
Crockett, TX 75835-2123                              Main Justice Building                                110 N. College Ave.
                                                     10th & Constitution Ave., NW                         Suite 300
                                                     Washington, DC 20530-0001                            Tyler, TX 75702-7231

United States Attorney’s Office                      Western Finance                                      World Finance
350 Magnolia Ave., Ste 150                           1003 Loop 304                                        1025 S. 4th St.
Beaumont, TX 77701-2254                              Crockett, TX 75835-1805                              Crockett, TX 75835-3203




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Internal Revenue Service                             Security Finance                                     End of Label Matrix
PO Box 21126                                         1048 S. 4th                                          Mailable recipients    14
Philadelphia, PA 19114                               Crockett, TX 75835                                   Bypassed recipients     0
                                                                                                          Total                  14
